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                                                         UNITED STATES DISTRICT
                                                         COURT SOUTHERN DISTRICT OF
                                                         FLORIDA

                                                         MIAMI DIVISION

                                                         Case No.: 1:18-CV-24100-COOKE/
                                                         GOODMAN

   DIGNA VINAS,

          Plaintiff,

   vs.

   THE INDEPENDENT ORDER
   OF FORESTERS,

          Defendant.
                                             I

              PLAINTIFF’S AMENDED1 MOTION TO PRECLUDE TESTIMONY
                 AND EVIDENCE OF THE REPORT FROM DEFENDANT’S
                           EXPERT, MARC S. FRAGER, M.D.

          Plaintiff, Digna Vinas (“Ms. Vinas”), pursuant to Fed. R. Civ. P. 7 and S.D. Fla. L.R.
   7.1, files this Daubert Motion to Preclude Testimony from Defendant, the Independent Order
   of Foresters’ (“Foresters”) expert, Marc S. Frager, M.D.
                               Background, Summary of Argument
                                    and the Relevant Issues

          Plaintiff, Digna Vinas, is the named beneficiary of a life insurance policy that Foresters
   sold her husband, Rigoberto Vinas (“Mr. Vinas”). At age seventy-three Mr. Vinas considered
   switching his present life insurance provider to Foresters. During the sales presentation,
   Foresters, through its sales agent, explained the contestability process to Mr. Vinas and

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            This motion is substantially similar to the motion Plaintiff filed on December 4, 2020
   (D.E. 140). After that first motion was filed, however, the Court extended the deadlines for
   expert discovery and ordered Defendant to “make its experts available for deposition
   accordingly.” (D.E. 146). Accordingly, in this motion Plaintiff incorporates the evidence
   adduced at Dr. Frager’s January 18, 2021 deposition, which supports Plaintiff’s arguments
   that Dr. Frager’s opinions are irrelevant, unhelpful, and unreliable.
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   advised him that as long as he answered all application questions truthfully, i.e., “to his best
   knowledge and belief”, his policy would not be rescinded, or claim denied because of an
   innocent mistake in the application. Foresters took the application and issued the policy.
          Mr. Vinas died fifteen days before the contestability period expired.          Foresters
   conducted a contestable investigation and denied Mrs. Vinas’ claim based on an alleged
   misrepresentation. Foresters further attempted to rescind Mr. Vinas’ policy.
          Ms. Vinas filed suit for Count I (Breach of Contract) and Count II (Declaratory Relief).
   During the deposition of Foresters’ employees and Corporate Representative, Plaintiff
   learned that contrary to Foresters’ representation at the time of sale of the policy, during its
   contestability investigation, Foresters did not, (and does not), even investigate the insured’s
   best knowledge and belief, much less make a determination what that best knowledge and
   belief was to decide whether to pay the claim. All Foresters does when it conducts a
   contestable investigation is to look at the diagnoses and medical records. No inquiry is made
   to determine the insured’s best knowledge and belief about the information contained in those
   records. In other words, the policy was sold to Mr. Vinas fraudulently, based upon a lie.
          Shortly after the depositions of Foresters’ representatives, Foresters admitted its
   liability for breach of contract, paid part of the damages it owed to Mrs. Vinas, and
   acknowledged partial entitlement for Mrs. Vinas’ attorney’s fees. As such, the liability issue
   relating to Foresters’ breach is no longer a matter of dispute. Mrs. Vinas has filed a motion
   for summary judgment based on Foresters’ confession of judgment. (D.E. 159).
          Almost immediately following the Foresters’ depositions, Plaintiff moved for, and this
   Court granted, Plaintiff’s Motion for Leave to amend her Complaint to allege Count III
   (Fraud in the Inducement). Subsequent Foresters’ deposition testimony provided additional
   evidence of fraud and revealed that Foresters’ sales department never communicated with the
   claims department to confirm the representation made at the time of sale to Mr. Vinas, “that
   the insured only needed to answer questions to his best knowledge and belief” was in fact
   how the claims department investigated and decided claims. The CR testified that there was
   no communication during the relevant time period determining the accuracy of this
   representation. In other words, the representation was made, at best, without knowledge of
   its truth or falsity; or at worst it was made knowing that it was false. Other evidence in the
   case established the representation was not true, as Foresters doesn’t even inquire about the

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   insured’s best knowledge and belief. This is the sole remaining liability issue in this case and
   the issue upon which Foresters has offered Dr. Frager’s testimony.
          The elements to establish a case for fraud in the inducement are misrepresentation,
   knowledge or constructive knowledge of its falsity, intent to induce reliance, and justifiable
   reliance resulting in injury. In support of its case, Foresters has submitted an expert report
   from Dr. Marc S. Frager. (Ex. A). None of the opinions offered in Dr. Frager’s report even
   arguably address any of the elements of fraud in the inducement. Instead, Foresters asked
   Dr. Frager to opine about the propriety of Dr. Hershman’s care and what Dr, Hershman
   should have done. The witness then took it upon himself to incredibly opine what “Mr. Vinas
   must have been aware” of. In sum, Dr. Frager’s deposition (Ex. B) conclusively confirmed
   that he has nothing to say about the relevant issue of Foresters’ intent in January 2015 when
   the contract was formed, and that the opinions he does have are both irrelevant and
   admittedly (by the witness) “speculation”.
                                      LEGAL STANDARD

          Expert testimony under Federal Rule of Evidence 702 must pass the Daubert
   “gatekeeping” analysis. See Kuhmo Tire Co. Ltd. v. Carmichael, 526 U.S. 137 (1999);
   Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993). To pass through
   Daubert’s gates the expert must be qualified, and the opinion must be reliable and helpful to
   the trier of fact. See, e.g., Rink v. Cheminova, Inc., 400 F.3d 1286, 1291-92 (11th Cir. 2005).
   The gatekeeping function ensures “‘that speculative, unreliable expert testimony does not
   reach the jury’ under the mantle of reliability that accompanies the appellation ‘expert
   testimony.’” Id. at 1291 (quoting McCorvey v. Baxter Healthcare Corp., 298 F.3d 1253,
   1256 (11th Cir.2002) “The party offering the expert testimony has the burden of
   demonstrating that the testimony is ‘relevant to the task at hand’ and ‘logically advances a
   material aspect’ of its case.” Boca Raton Cmty. Hosp., Inc. v. Tenet Health Care Corp., 582
   F.3d 1227, 1232 (11th Cir. 2009) (quoting Daubert, 509 U.S. at 597). Umana-Fowler v. NCL
   (Bahamas) Ltd., 49 F. Supp. 3d 1120, 1122 (S.D. Fla. 2014).
          An expert opinion is not admissible unless it “assists the trier of fact, through the
   application of scientific, technical, or specialized expertise, to understand the evidence or to
   determine a fact in issue.” United States v. Delva, 922 F.3d 1228, 1251 (11th Cir. 2019)
   (emphasis added). An expert’s opinion is properly excluded as unreliable when “the leap

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   from data to opinion” is too great. Hughes v. Kia Motors Corp., 766 F.3d 1317, 1331 (11th
   Cir. 2014); see Rider v. Sandoz Pharm. Corp., 295 F.3d 1194, 1202 (11th Cir. 2002) (affirming
   exclusion of expert whose opinion on causality included “several scientifically unsupported
   ‘leaps of faith’ in the causal chain”).
                      Dr. Frager’s Proposed Expert Opinions are Irrelevant,
                       Unreliable, And Will Not Be Helpful to The Jury.

          “The judge’s role is to keep unreliable and irrelevant information from the jury because
   of its inability to assist in factual determinations, its potential to create confusion, and its lack
   of probative value.” Allison v. McGhan Med. Corp., 184 F.3d 1300, 1311–12 (11th Cir.
   1999). Simply put, Dr. Frager offers nothing relevant or helpful in this case.
          Relevance is determined by the elements of the sole remaining Fraud in the
   Inducement count. Florida law recognizes four elements to a cause of action for fraudulent
   inducement:
          (1)     A misrepresentation of a material fact [by the representor];
          (2)     That the representor knew or should have known that the statement was false;
          (3)     The representor’s intent to induce another to rely and act upon the
   misrepresentation; and,
           (4)    A resulting injury to the party acting in justifiable reliance.
   Moro-Romero v. Prudential-Bache Sec., Inc., 89-1821-CIV-DAVIS, 1991 WL 494175, at *6
   (S.D. Fla. Aug. 26, 1991) (citing Royal Typewriter Co. v. Xerographic Supplies, 719 F.2d
   1092, 1103 (11th Cir.1983) (Emphasis supplied); Lou Bachrodt Chevrolet, Inc., v.
   Savage, 570 So.2d 306, 308 (Fla. 4th DCA 1990)); see also Pulte Home Corp. v. Osmose Wood
   Preserving, Inc., 60 F.3d 734, 742 (11th Cir. 1995). Significantly, the elements of fraud focus
   on the intent and state of knowledge of the representor.
          With this in mind, consider Dr. Frager’s report wherein all of his proposed opinions
   relate not to Foresters’ state of mind as the “representor,” but instead to the alleged state of
   mind of Mr. Vinas or his doctor, Dr. Hershman:
          •       “[I]t would be reasonable to assume that Mr. Vinas was being followed
                  for diabetes and secondary complications.”
          •       “A reasonably prudent physician would discuss all conditions with that
                  patient.”



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          •      “It is standard protocol for a physician to discuss all lab results and exam
                 findings.”
          •      “Anyone reviewing these records would reasonably determine that Dr.
                 Hershman adhered to standard protocol …”
          •      “Mr. Vinas must have been aware of these conditions.”

   (Ex. A, at 3 (Emphasis supplied)). Respectfully … so what? The elements of fraudulent
   inducement do not have anything to do with, or depend in any way on, Mr. Vinas’ state of
   mind or what Dr. Hershman did or should have done or known. Such “opinions” would
   have been relevant, if ever, to the Breach of Contract action, as Foresters recognizes. (D.E.
   133, at 2 (arguing Dr. Frager’s opinion “is relevant to Plaintiff’s breach of contract claim
   because it shows that Foresters [sic] decision to deny Plaintiff’s claim for the Death Benefit in
   April of 2017 was correct based on the information available to Foresters at that time.”).
          Foresters has already admitted liability for Count I. That issue is over, and Vinas has
   filed a motion for summary judgment based on Foresters’ confession of judgment. (D.E.
   159). The only remaining issue is what Foresters knew or should have known about the truth
   of its representation when it sold the policy to Mr. Vinas. Obviously, none of Dr. Frager’s
   statements address that issue.
          In a desperate attempt to make Dr. Frager’s testimony somehow relevant, Foresters
   argued “Dr. Frager’s opinion is relevant . . . because it refutes Plaintiff’s allegation that
   Foresters had the fraudulent intent to deny her claim without consideration of Mr. Vinas’
   knowledge and belief of the representations in his application.” (D.E. 133, at 1-2) (Emphasis
   supplied). How Dr. Frager’s testimony does that is a mystery to both Plaintiff and to the
   witness himself, who had a completely different understanding of his role; an understanding
   which completely belies Foresters’ relevancy argument. Specifically, Foresters asked Dr.
   Frager to opine on the extent of Mr. Vinas’ diabetes, and to “comment on Dr. Hershman’s
   management” of Vinas’ health.


          Q.     … [T]ell me in your own records what you understood Foresters
                 was asking you to do.

          A.     They asked me to give my opinion about management of his
                 diabetes and the extent and duration of his diabetes.

          Q.      … The management of Mr. Vinas' diabetes, right?

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            A.      Yes.

            Q.      The extent of his diabetes?

            A.      Yes.

            Q.     Okay. Were you asked to render an opinion on anything else
                   other than the management of his diabetes and the extent of his
                   diabetes?

            A.     I may have been asked comments regarding -- Dr. Hershman
                   made regarding his management.

            Q.      I don't understand. What were you asked to do?

            A.      Comment on Dr. Hershman's management.

   (Ex. B, p. 17, l. 11 – p. 18, l. 4).
            Not surprisingly, even Dr. Frager agreed, that contrary to Foresters assertion of the
   basis for relevancy, there was nothing in his review that “reflects upon what Foresters knew
   or didn’t know in 2015”. (Ex. B, p. 81, lines 2-5). He also acknowledged there was similarly
   nothing that “reflects upon Foresters’ intent [was] and what they intended in 2015.” (Ex. B,
   p. 81, lines 6-8).
            Further, when questioned on the key representation in the case that Foresters’ would
   not deny the claim or rescind the policy as long as Mr. Vinas answered questions to his “best
   knowledge and belief” (Foresters’ standard for accuracy), Dr. Frager similarly had nothing to
   offer:
            Q.     I will tell you that there is evidence in this case that Foresters
                   represented to Mr. Vinas and Mrs. Vinas that if Mr. Vinas told
                   the truth in his questions in answering the application . . . that is
                   gave his best knowledge and belief, that Foresters would not
                   deny the claim or rescind the policy based upon a claim that he
                   misrepresented because the standard was his best knowledge and
                   belief.
                                                ...

            Q.     Is there anything about your opinions in any way, shape, manner
                   or form that makes that statement by Foresters more or less true?
            A.     No.


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           Q.      Did you intend your opinions in any way, shape, manner or form
                   to reflect that Foresters told the truth when they made that
                   representation to Mr. Vinas or didn’t tell the truth?

           A.      My opinion is, they had nothing to do with Foresters.

   (Ex. B, p. 82, l. 10 – p. 83, l. 10). In short, the purported expert himself, acknowledged his
   opinions did not “in any way, shape, manner or form reflect that Foresters told the truth.”
   (Ex. B, p. 82, l. 10- p. 83, l. 10).
           Dr. Frager’s understanding of the limitations on his own opinions is consistent with
   the actual limitations of his expertise. Indeed, Dr. Frager himself understood that if he had
   offered any opinion as to Foresters’ intent, he would have been well outside of his expertise.
   Consider that Dr. Frager has never worked in the insurance field, and does not “know the
   thought processes that are supposed to go through an insurance salesperson’s head when he
   or she is selling a policy.” (Ex. B, p. 7, l. 22 – p. 8, l. 15). Thus, again contrary to Foresters’
   assertions otherwise, Dr. Frager admitted he had “no idea what the Foresters representative
   meant or intended when [she] told Mr. Vinas when she sold the policy to him that in the event
   of a contestability investigation, Foresters would investigate Mr. Vinas’ best knowledge and
   belief.” (Ex. B, p. 50, lines 13-25).
           In sum, it is indeed incredible that Foresters would offer Dr. Frager to render opinions
   to this Court with the representation that the opinion “is relevant . . . because it refutes
   Plaintiff’s allegation that Foresters had the fraudulent intent to deny [Vinas’] claim … ” (D.E.
   133, at 1-2) when the witness himself didn’t offer such an opinion and recognized an such
   opinion would be outside his area of expertise! Dr. Frager should not be permitted to testify.
                   Dr. Frager’s Opinion is Pure Speculation and Not the Product
                       of a Reliable Chain of Reasoning or Underlying Facts.

           In addition to being completely irrelevant, Dr. Frager’s statements about what Mr.
   Vinas knew or didn’t know are complete and total speculation. The law is clear that
   “subjective speculation that masquerades as scientific knowledge does not provide good
   grounds for the admissibility of expert opinions.” McClain v. Metabolife Intern., Inc., 401
   F.3d 1233, 1245 (11th Cir. 2005) (citation omitted). That is exactly what Foresters is trying to
   accomplish here. Underlying his attempt at an impressive-sounding proclamation that Mr.
   Vinas “must have been aware,” is pure speculation about what Dr. Hershman did, knew

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   and/or told Mr. Vinas based on what Dr. Frager believes Dr. Hershman “should have” done.
   This does not make for a reliable opinion. King v. Cessna Aircraft Co., 03-20482-CIV, 2010
   WL 1980861, at *4 (S.D. Fla. May 18, 2010) (explaining that “to allow an expert to give a
   subjective opinion merely because he is an expert and experienced in the field would eliminate
   the requirement of reliability”).
          Dr. Frager openly admitted that he has “no idea” from reviewing the medical records
   and other documents as to what Mr. Vinas’ best knowledge and belief was about his medical
   condition. (Ex. B., p. 70, l. 21 – p. 71, l. 2). Dr. Frager admitted he was purely “speculating”
   (Dr. Frager’s own words) when he wrote in his report that “Based on these records, Mr. Vinas
   must have been aware of these conditions”:
          Q.      Okay. Based upon what we’ve gone through here today, you
                  agree with me that you have no idea whether Mr. Vinas did or
                  did not know whether he had diabetes, correct?

           A.      Correct.

                                                 .       .      .

          Q.      So how can you say, “Based on these records, Mr. Vinas must
                  have been aware of these conditions”?

          A.      You asked me if I knew what Mr. Vinas knew. I don’t know what
                  he knew, but I can speculate that in my opinion, he should have
                  been aware of these conditions.

          Q.      Okay. So, let’s just say -- let’s break down what you just said.
                  Your statement that he must have been aware is speculation,
                  correct?

          A.      It’s my opinion, correct.

          Q.      It is speculation. That’s your words, not mine. Right?

          A.      Yes.

   (Ex. B, p. 77, l. 21 – p. 79, l. 2). (Emphasis supplied). Further, like Foresters itself, Dr. Frager
   had no evidence in the record upon which to base his admitted speculation that Mr. Vinas
   knew he had diabetes:



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          Q.     Okay. Did you ever ask Dr. Hershman or determine in any other
                 way from Dr. Hershman if he told Mr. Vinas ever that he had
                 diabetes?

          A.     I’ve had no contact with Dr. Hershman. I only looked at the
                 records.

          Q.     … When you make your medical entries, do you put little notes
                 that say, “Discussed with patient”? I know that a lot of my client
                 doctors do that.

          A.     Yes, I do.

          Q.     Okay. Did you notice in any of Dr. Hershman’s records any note
                 that said, “Discussed with patient diabetes”?

          A.     No.

          Q.     Was there any evidence in any of Dr. Hershman’s medical
                 records, any at all, that he had conveyed to Mr. Vinas that he
                 had diabetes?

          A.     No.

          Q.     Was there any indication in the medical records that Mr. Vinas
                 believed he had diabetes?

          A.     No.

          Q.     So sitting here today, is it fair to say you don’t know one way or
                 the other whether Mr. Vinas did or did not believe he had
                 diabetes, correct?

          A.     I don’t know what Mr. Vinas thought.

   (Ex. B, p. 49, l. 11 – p. 50, l. 12). Thus, Dr. Frager repeatedly admitted that he had “no
   idea . . . what Dr. Hershman did or didn’t tell” Mr. Vinas, or what Mr. Vinas thought. (Ex.
   B, p. 52, lines 12- 23). Any opinion on such an issue should be precluded as both admitted
   speculation and irrelevant.
          Finally, Dr. Frager cannot reliably contribute on the also-irrelevant issue of whether
   Foresters’ denial of Vinas’ claim was reasonable. Dr. Frager was questioned on his conclusion
   that “it would be reasonable to assume that Mr. Vinas was being followed for diabetes and
   secondary complications.” (Id., p. 45, l. 9). He admitted that he had done no studies or

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    analysis, had not referred to the literature, and had not spoken to any psychologist about what
    conclusion would be reasonable; it was just “Marc Frager’s thought about what’s reasonable”
    for “anyone in the world” to conclude. (Id., p. 45, l. 10 – p. 46, l. 9). He had no evidence to
    rely on, and no relevant expertise or education in the area to draw upon, that qualified him
    to speak on the matter in this case:
           Q:     Are you able to cite any portion of the medical records that
                  directly addresses that Mr. Vinas must have been aware of his
                  condition?

           A.     I am not.

           Q.     Are you able to cite any authoritative source for the proposition,
                  your speculation, that Mr. Vinas must have been aware of his
                  medical condition?

           A.     No.

    (Id., p. 79, lines 15–22; see also id., p. 80, lines 8-17). Thus, in addition to lacking anything
    relevant to contribute, Dr. Frager has nothing reliable at all to present to the jury. The Court
    should exclude his opinions.
                                           CONCLUSION
           Experts carry weight with lay jurors; to guard against prejudice from such “talismanic
    significance . . . the district courts must take care to weigh the value of such evidence against
    its potential to mislead or confuse.” United States v. Frazier, 387 F.3d 1244, 1263 (11th Cir.
    2004). First, neither Mr. Vinas’ state of mind, nor Dr. Hershman’s quality of practice is
    relevant to Plaintiff’s Fraud in the Inducement count. Second, by his own admission Dr.
    Frager’s opinions regarding what Mr. Vinas knew or didn’t know is nothing but pure
    speculation. The opinion/witness should be stricken.
           Based on the foregoing argument and cited authority, Ms. Vinas requests that this
    Court enter an order excluding all testimony and reports from Defendant’s proposed expert
    Dr. Marc Frager.
                                 S.D. Fla. L.R. 7.1(a)(3) Certificate
           Pursuant to Local Rule 7.1(a)(3)(B), I hereby certify that counsel for the Plaintiff has
    been contacted and objects to the relief requested herein.



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                                  CERTIFICATE OF SERVICE

             I HEREBY CERTIFY a true and correct copy of the foregoing has been electronically

    filed with the Court and a copy has been served on February 5, 2021 on: Kristina B. Pett,

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